                                                         IT IS ORDERED

                                                         Date Entered on Docket: June 10, 2020




                                                         ________________________________
                                                         The Honorable David T. Thuma
                                                         United States Bankruptcy Judge
______________________________________________________________________
                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW MEXICO

  In Re:                                          Case No. 11-12331-t11

  Linda Rose Ghaffari,
                                                  Chapter: 11
     Debtor(s)

   DEFAULT ORDER TERMINATION OF AUTOMATIC STAY UPON NON-PAYMENT
      FOR THE REAL PROPERTY LOCATED AT 9531 VIA SALERNO, UNIT 33,
                         BURBANK, CA 91504

           THIS MATTER came before the Court on the Notice of Acceleration with 30 Days to

  Cure filed on April 9, 2020, Docket No. 175 (the "Notice") by Nationstar Mortgage LLC d/b/a

  Mr. Coper as servicer for U.S. Bank National Association, as Trustee, Successor in interest to

  Bank of America, National Association, as Trustee, Successor by Merger to LaSalle Bank,

  National Association, as Trustee for Merrill Lynch First Franklin Mortgage Loan Trust,

  Mortgage Pass-Through Certificates, Series 2007-1, its successors and/or assigns ("Secured

  Creditor"). The Court, having reviewed the record and the Notice, and being otherwise

  sufficiently informed, FINDS:

           1.    On April 9, 2020, Secured Creditor served the Notice on the U.S. Trustee, and on

  Debtor's counsels, Joel Alan Gaffney and Mark S. Sweetman, by United States first class mail

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and by use of the Court's case management and electronic filing system for the transmission of

notices, as authorized by Fed.R.Civ.P. 5(b)(3) and NM LBR 9036-1, and on Debtor(s) and the 20

Largest Unsecured Creditors by United States first class mail, in accordance with Bankruptcy

Rules 7004 and 9014.

       2.      The Notice relates to the real Property located at 9531 Via Salerno, Unit 33,

Burbank, CA 91504 (“Property”).

       3.      The Notice specified an objection deadline of 30 days from the date of service of

the Notice, to which 3 days was added under Bankruptcy Rule 9006(f);

       4.      The Notice was sufficient in form and content;

       5.      The objection deadline expired on May 12, 2020;

       6.      As of June 8, 2020, neither Debtor(s) nor any other party in interest, filed an

objection to the Notice;

       7.      The Notice is well taken and should be granted as provided herein; and

       8.      By submitting this Order to the Court for entry, the undersigned counsel for

Movant certifies under penalty of perjury that, on June 8, 2020, Dyane Martinez, a Legal

Assistant of Weinstein & Riley, P.S. searched the data banks of the Department of Defense

Manpower Data Center ("DMDC") and found that DMDC does not possess any information

indicating that Debtor is currently on active military duty of the United States.

       IT IS THEREFORE ORDERED:

       1.      Pursuant to 11 U.S.C. §362(d), the automatic stay of lien enforcement is

terminated as to Movant:

               a.      To enforce their rights in the Property, including foreclosure of liens and a

       foreclosure sale, under the terms of any prepetition notes, mortgages, security agreements



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       and/or other agreements to which Debtor is a party, to the extent permitted by applicable

       non-bankruptcy law, such as by commencing or proceeding with appropriate action

       against Debtor(s) or the Property, or both, in any court of competent jurisdiction; and

               b.     To exercise any other right or remedy available to them under law or

       equity with respect to the Property.

       2.      The automatic stay is not modified to permit any act to collect any deficiency or

other obligation as a personal liability of Debtor(s), although Debtor(s) can be named as a

defendant\defendants in litigation to obtain an in rem judgment or to repossess the Property in

accordance with applicable non-bankruptcy law.

       3.      This Order does not waive Movant's claim against the estate for any deficiency

owed by Debtor(s) after any foreclosure sale or other disposition of the Property. Movant may

file an amended proof of claim for this bankruptcy case within 30 days after a foreclosure sale of

the Property should it claim that Debtor(s) owe(s) any amount after the sale of the Property.

       4.      This Order shall continue in full force and effect if this case is dismissed or

converted to a case under another chapter of the Bankruptcy Code.

       5.      This Order is effective and enforceable upon entry. The 14-day stay requirement

of Fed.R.Bankr.P. 4001(a)(3) is waived.

       6.      Movant is further granted relief from the stay to engage in loan modification

discussions or negotiations or other settlement discussions with Debtor(s) and to enter into a loan

modification with Debtor(s).


                                  XXX END OF ORDER XXX




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Submitted by:



/s/ Elizabeth V. Friedenstein
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